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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   GEORGE GOODRITZ                                   : No.
                                                     :
                                  Plaintiff,         :
             v.                                      :
                                                     :
   711 CHESTNUT ASSOCIATES L.P.                      :
                                                     :
                                               and   :
   PARKWAY PARKING                                   :
   MANAGEMENT, LLC                                   :     COMPLAINT
                                                     :
                                  Defendants         :

                              PRELIMINARY STATEMENT

  George Goodritz (the “Plaintiff”), by and through his counsel, brings this lawsuit against

711 Chestnut Associates, L.P. and Parkway Parking Management LLC, seeking all

available relief under the Americans with Disabilities Act for the failure to comply with

the Act’s accessibility requirements. Plaintiff is seeking injunctive relief requiring the

Defendants to remove the accessibility barriers which exist at their parking facility.

The allegations contained herein are based on personal experience of the Plaintiff.
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                                   I. JURISDICTION

1. This action is brought pursuant to the Americans with Disabilities Act of 1990

   (“ADA”), 42 U.S.C. § 12101 et seq.

2. This civil controversy arises under the laws of the United States, and jurisdiction in

   conferred upon this District Court, pursuant to 28 U.S.C. §1331.


                                  II. VENUE

3. All actions complained of herein took place within the jurisdiction of the United States

   District Court for the Eastern District of Pennsylvania.

4. Venue is proper in this judicial District as provided by 28 U.S.C. §1391(b).

                                III. PARTIES

5. Plaintiff is a 69 year-old adult male who currently resides in the Commonwealth of

   Pennsylvania.

6. Plaintiff is a disabled individual.

7. According to the Philadelphia Board of Revision of Taxes, 711 Chestnut Associates

   L.P. (“Defendant Chestnut”) is the owner of the parking lot located at 711 Chestnut

   Street, Philadelphia, Pennsylvania 19106, having a tax account number of 885749840.

8. Defendant Chestnut is a foreign limited partnership registered with the Pennsylvania

   Department of State under entity identification number 4027886.

9. Defendant Chestnut has a business address of 150 North Broad Street, Philadelphia,

   Pennsylvania 19102.

10. Parkway Parking Management, LLC (“Defendant Parkway”) is a domestic limited

   liability company registered with the Pennsylvania Department of State under entity

   identification number 4297462.
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11. Defendant Parkway has a business address of 150 North Broad Street, Philadelphia,

      Pennsylvania 19102.

12. Defendant Chestnut and Defendant Parkway are collectively referred to herein as the

      “Defendants.”


                                   IV. STATEMENT OF FACTS

The Parking Facility

13. Defendant Chestnut owns a public parking lot located at 711 Chestnut Street,

      Philadelphia, Pennsylvania 19106 (the “Parking Facility”).

14. Upon information and belief, Defendant Parkway manages the Parking Facility for

      Defendant Chestnut.

15. The Parking Facility offers parking to the general public.

16. For a fee, an individual can park a vehicle in the Parking Facility at the prevailing

      market rates.

17. According to Defendant Parkway’s website, the Parking Facility has 65 (sixty-five)

      parking spaces.1

18. Once inside the Parking Facility, the customer must locate an empty parking space on

      the lot to park his or her vehicle.

19. After parking, the customer gives his or her vehicle keys to the Parking Facility’s

      parking attendant.

20. Upon the conclusion of the customer’s use of the Parking Facility, the customer must

      pay at a payment kiosk located on the lot.




1
    http://www.parkwaycorp.com/?id=104
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21. The payment kiosk accepts payment for the time that the customer’s vehicle was at the

   Parking Facility.

22. The Parking Facility has no marked handicap-accessible parking spaces.

23. The Parking Facility has no marked van-accessible handicap parking spaces.

24. The Parking Facility is not a valet-only facility; customers are able to self-park their

   vehicles.

The Plaintiff

25. The Plaintiff is a disabled individual within the meaning of the ADA.

26. The Plaintiff has difficulty walking.

27. The Plaintiff possesses a handicap parking placard issued by the Commonwealth of

   Pennsylvania.

28. The Plaintiff’s handicap parking placard permits him to park his vehicle in spaces

   designated as being handicap-accessible.

29. The Plaintiff’s personal vehicle is a 2016 Toyota RAV 4.

30. The Plaintiff’s handicap parking placard hangs on the rear-view mirror of his vehicle.

31. The Plaintiff travels to Philadelphia frequently, and is often unable to find parking on

   the streets.

32. Plaintiff parks in a parking garage or parking lot when on-street parking is not available.

33. The Plaintiff has patronized the Parking Facility.

34. The Plaintiff would patronize the Parking Facility in the future, but is currently deterred

   because of the lack of any handicap-accessible parking places.
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                   THE AMERICANS WITH DISABILITIES ACT

35. Congress enacted the Americans with Disabilities Act (“ADA”) in 1990 with the

   purpose of providing “[a] clear and comprehensive national mandate for the elimination

   of discrimination against individuals with disabilities” and “[c]lear, strong, consistent,

   enforceable    standards     addressing     discrimination     against   individuals     with

   disabilities.” 42 U.S.C. § 12101(b).

36. The ADA provides a private right of action for injunctive relief to “any person who is

   being subject to discrimination on the basis of disability.” 42 U.S.C. § 12188(a)(1).

37. Under the ADA, a disability is defined as “(A) a physical or mental impairment that

   substantially limits one or more major life activities of such individual; (B) a record of

   such an impairment; or (C) being regarded as having such an impairment.” 42 U.S.C.

   § 12102(1).

38. Title III of the ADA provides that “[n]o individual shall be discriminated against on

   the basis of disability in the full and equal enjoyment of the goods, services, facilities,

   privileges, advantages, or accommodations of any place of public accommodation by

   any person who owns, leases (or leases to), or operates a place of public

   accommodation.” 42 U.S.C. § 12182.

39. “It shall be discriminatory to afford an individual or class of individuals, on the basis

   of a disability or disabilities of such individual or class, directly, or through contractual,

   licensing, or other arrangements with the opportunity to participate in or benefit from

   a good, service, facility, privilege, advantage, or accommodation that is not equal to

   that afforded to other individuals.” 42 U.S.C. § 12182(b)(1)(A)(ii).
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40. A “public accommodation” are private entities whose operations affect commerce. See

   42 U.S.C. § 12181(7).

41. In relevant part, Title III requires that the facilities of a public accommodation be

   “readily accessible to and usable by individuals with disabilities, except where an entity

   can demonstrate that it is structurally impracticable.” 42 U.S.C. § 12183(a)(1).

42. “Readily achievable” means easily accomplishable and able to be carried out without

   much difficulty or expense. 28 C.F.R. § 36.104.

43. Under Title III, places of public accommodation and commercial facilities that are

   newly constructed for occupancy beginning after January 26, 1992, must be “readily

   accessible to and usable by” individuals with disabilities. 28 C.F.R. § 36.401(a) (1).

44. Existing facilities whose construction predates January 26, 1992, must meet the lesser

   “barrier removal standard,” which requires the removal of barriers wherever it is

   “easily accomplishable and able to be done without undue burden or expense.” 28

   C.F.R. § 36.304(a).

45. Discrimination, for purposes of a public accommodation, includes “[a] failure to design

   and construct facilities for first occupancy later than 30 months after July 26, 1990, that

   are readily accessible to and usable by individuals with disabilities” except where an

   entity can demonstrate that it is structurally impracticable to meet the requirements set

   forth by the ADA. 42 U.S.C. § 12183.

46. Under the ADA, businesses or privately owned facilities that provide goods or services

   to the public have a continuing obligation to remove accessibility barriers in existing

   parking lots when it is readily achievable to do so.
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47. The restriping/repainting of the parking space borders in relatively inexpensive, and

    should be readily achievable and easily accomplishable.

Accessible Parking under the ADA

48. The 1991 implementing rules and the 2010 revisions to the ADA set forth the following

    requirements for handicap-accessible parking spaces:2


    Total Number of Parking Spaces Provided                   Minimum Number of Required
              in Parking Facility                              Accessible Parking Spaces

                          1 to 25                                            1
                         26 to 50                                            2
                         51 to 75                                            3
                        76 to 100                                            4
                       101 to 150                                            5
                       151 to 200                                            6
                       201 to 300                                            7
                       301 to 400                                            8
                       401 to 500                                            9
                                                            2% of the total number of parking
                      501 to 1000
                                                                           spaces
                                                          20, plus 1 for each 100 parking spaces
                    More than 1001
                                                                         over 1000

49. The ADA requires that handicap-accessible parking spaces be at least 96 (ninety-six)

    inches wide. See Appendix A to Part 36- Standards for Accessible Design, 28 C.F.R.

    Part 36.3

50. The width of a parking space is measured from the center of each parking line bordering

    the parking space.4 (See Exhibit A)




2
  https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#pgfId-1010282
3
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
4
  Id.
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51. The ADA requires that there be an access isle for the handicap-accessible parking space

    that is at least 60 (sixty) inches wide. (See Exhibit A)

52. The 1991 ADA regulations require that one in every eight accessible spaces must be

    van accessible.5

53. The 2010 ADA regulations state that one in every six accessible spaces must be van

    accessible.6

54. The path a person with a disability takes to enter and move through a facility is called

    an "accessible route."7

55. This route, which must be at least three feet wide, must remain accessible and not be

    blocked.8

56. Accessible routes must connect parking spaces to accessible entrances.9

57. “Facility” means all or any portion of buildings, structures, sites, complexes,

    equipment, rolling stock or other conveyances, roads, walks, passageways, parking

    lots, or other real or personal property, including the site where the building, property,

    structure, or equipment is located. 28 C.F.R. § 35.104.

58. ADA accessibility standards require that accessible parking spaces be located on the

    shortest accessible route from adjacent parking to the accessible entrance of the

    building.10

59. ADA Guidance Standards provide that “[a] "path of travel" includes a continuous,

    unobstructed way of pedestrian passage by means of which the altered area may be


5
  https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
6
  Id.
7
  http://www.ada.gov/regs2010/titleII_2010/title_ii_primer.html
8
  Id.
9
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
10
   http://www.ada.gov/adata1.pdf
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     approached, entered, and exited, and which connects the altered area with an exterior

     approach (including sidewalks, streets, and parking areas), an entrance to the facility,

     and other parts of the facility.”11

60. “An accessible path of travel may consist of walks and sidewalks, curb ramps and other

     interior or exterior pedestrian ramps; clear floor paths through lobbies, corridors,

     rooms, and other improved areas; parking access aisles; elevators and lifts; or a

     combination of these elements.”12

Valet Parking

61. The 1991 Standards of the ADA and the 2010 Standards of the ADA require parking

     facilities that provide valet parking services to have an accessible passenger loading

     zone.13

62. Valet parking facilities must have accessible passenger loading zone that has an access

     aisle that is a minimum of 60 (sixty) inches wide and extends the full length of the

     vehicle pull-up space. (See Exhibit B)

63. The 1991 ADA Standards and the 2010 ADA Standards both require a passenger

     loading zone to have a vehicle pull-up space that is a minimum of 96 (ninety-six) inches

     wide and a minimum of 20 (twenty) feet in length.14 (See Exhibit B)

64. The passenger loading zone must be located on an accessible route to the entrance of

     the facility.15




11
   https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#curbramps
12
   Id.
13
   https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
14
   https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
15
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.6.6
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Signage and the ADA

65. The ADA standards require the use of the International Symbol of Accessibility (ISA)

     to identify parking spaces which are reserved for use by individuals with disabilities.16

     (See Exhibit C)

66. Handicap-accessible parking spaces must be designed as “reserved” by a showing the

     ISA.

67. The ISA must be used to identify accessible passenger loading zones.

68. Directional signage must be used at inaccessible entrances to provide directions to the

     nearest accessible route.

69. Parking space identification signs shall be 60 (sixty) inches minimum above the finish

     floor or ground surface measured to the bottom of the sign.17

                                             COUNT I –

        FAILURE TO PROVIDE THE PROPER NUMBER OF HANDICAP-
                    ACCESSIBLE PARKING SPACES

70. All preceding paragraphs are hereby incorporated by reference as if fully set forth

     herein.

71. The United States Supreme Court recognized the term “major life activities” includes

     walking. Bragdon v. Abbott, 524 U.S. 624, 638–39 (1998).

72. The Plaintiff is a disabled individual within the meaning of the ADA.

73. The major life activity that the constitutes the Plaintiff’s disability is his difficulty

     walking distances.



16
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.1
17
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
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74. Defendant Chestnut failed to provide any parking spaces that are labeled as “handicap

   accessible” at the Parking Facility.

75. Defendant Chestnut failed to provide any parking spaces that are labeled as “handicap

   accessible” by a van at the Parking Facility.

76. Defendant Parkway failed to provide any parking spaces that are labeled as “handicap

   accessible” at the Parking Facility.

77. Defendant Parkway failed to provide any parking spaces that are labeled as “handicap

   accessible” by a van at the Parking Facility.

78. The Parking Facility’s failure to provide any handicap-accessible parking spaces has

   created an accessibility barrier for the Plaintiff, and other similarly situated disabled

   individuals.

79. Defendant Chestnut is responsible for ensuring the Parking Facility’s compliance with

   the ADA.

80. Defendant Parkway is responsible for ensuring the Parking Facility’s compliance with

   the ADA.

81. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by designating several of the available non-handicap-accessible spaces as

   handicap-accessible spaces.

82. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by designating several of the available non-handicap-accessible spaces as

   handicap-accessible spaces by a van.

83. Compliance with the handicap parking space requirements at the Parking Facility is

   readily achievable.
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84. The Defendants’ failure to comply with the ADA has denied the Plaintiff the full and

   equal enjoyment of the parking offered by the Parking Facility.

85. Because his walking distance is limited, the Plaintiff is adversely affected by the

   Parking Facility’s failure to comply with the ADA.

86. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA.

WHEREFORE, Plaintiff, seeks to injunctive relief to require the Defendants to comply

with the Americans with Disabilities Act, together with costs and mandatory attorneys’

fees under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.

                                        COUNT II-

             FAILURE TO COMPLY WITH THE SIGNAGE & ACCESS
                    REQUIRMENTS UNDER THE ADA


87. All of the preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

88. The Parking Facility does not have any directional signs for the nearest accessible

   route.

89. The Parking Facility does not have any marked passenger loading zones for any valet

   area.

90. The Parking Facility does not have any handicap-accessible parking signs.

91. The Parking Facility does not have any van-accessible handicap-accessible parking

   signs.

92. The Parking Facility does not have any marked accessible routes.
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93. The Defendants can remedy their non-compliance by reallocating existing parking

   spaces and painting border lines which conform to the dimensional requirements of the

   ADA for handicap-accessible parking spaces and access aisles.

94. Because his walking distance is limited, the Plaintiff is adversely affected by the

   Parking Facility’s failure to comply with the ADA handicap-accessible parking

   requirements.

95. The Defendants’ failure to comply with the ADA handicap-accessible parking

   requirements has denied the Plaintiff the full and equal enjoyment of parking offered

   by the Parking Facility.

96. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA handicap-accessible parking requirements.

WHEREFORE, Plaintiff, seeks to injunctive relief to require the Defendants to comply

with the Americans with Disabilities Act, together with costs and mandatory attorneys’

fees under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.

Respectfully submitted,

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Dated: May 9, 2017
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                             CERTIFICATE OF SERVICE

I, Franklin J. Rooks Jr., certify that I served Plaintiff’s Complaint via the Court’s ECF

system.



By: FJR5566

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                                     EXHIBIT A


(Source:https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-parking#spaces)
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                                     EXHIBIT B



Source https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-passenger-loading-
zones
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                           EXHIBIT C
